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z. PERSoN REPRESEN'I'EH
Martin, Michael

 

VOUCUER NUMBER

 

 

3.1\1AG. DKT.IDEF. NUMBER 4. DlST. I}KT.IDEF. NUMBER

2104-020245-001

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7. 11\' CASE/MATTER 0F
U.S. v. Martin Felony

(Case Name) 11. PAY!\'"I`.NT CATEGORY

 

9. TYPF. PERSON REPRESENTED

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Crim`tnal (.`H`se

 

 

 

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IZ. ATTORNEY'S NA.\'IE §First l\'ame. M.l., l,ast l\`ame, ineludlng any sul`l'lx)
AND MAIL[NG ADDRE S

KERN, LAWRENCE
SUITE 600

5118 PARK
MEMPH!S TN 38117

'I`elephone Nr.lmher:

    

13. couRT 0RDER ’”»
g 0 Appointing Cnunsel

L':| F Subs For Federal Detender
m P Subs F nr l"am-I Aunrm-y

1..14.§ . ,.
C Co-Counsel

R Subs Fur Retnined Atturn\:}l

Y Standby Counsel

|]l:l[`T

Prior Attorney's Nnme:

1 s

% Beceuse the above-named person represented has testified under oath ur has
otherwise satlsl`led this court that he er she (t} is financially unable 10 employ cwnse] and

(2] does nut wish tn waive counsel and because the interests ufjusliee se require the

 

Appoimment Batc'.

 

14. NAME AND MA][.ING ADDRESS OF LA“' FlRM (only pru\‘idc per instructilms)

attorney whme name appears in ltem 1215 appointed to represent this person 111 this costa
l)l'

miss 1/ ¢MV

Signuture 11[ Preslding Judieis\l Oflieer or By Urder nfthe Court
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Date ol'Order Nul\e Pro Tune Dntc
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a. Arraignment andfor Plea

 

b. Bai| and Detention Hearings

 

 

 

e. Motion Hearings

 

 

 

d. Trial

 

 

 

c. Sentencing Hearings

 

 

 

f. Revocation H earings

 

 

 

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g. Appeals Court

 

 

h. Other (Speeify on additional sheets)

 

 

 

(Rste per hour = $ ) TOT.ALS:

 

:1. Interviews and Conferences

 

b. Obtaining and reviewing records

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e. Legal research and brief writing

 

 

 

d. Travel time

f°j-ncv

 

 

 

e. Investigative and Other work (speetr_v nn additional mem

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representation? t [1 NO [t' yes‘ gi\e details on additional sheets.
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]F UTHER THAN CASE COMPI»ETION
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22. Cl.A[M S'I`AI` US m Final Payment m Interlm Payment l\`umbcr _ 3 Supplemental Puyment
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34 S[GNATURE OF CH]EF .IUDGE, COURT OF APP EALS (OR. DELEGA|` E) Pa}menl

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Honorable J on McCalla
US DISTRICT COURT

